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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

BNSF Railway Company
                                   Plaintiff,
v.                                                     Case No.: 1:21−cv−03072
                                                       Honorable Steven C. Seeger
Town of Cicero, Illinois
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 7, 2021:


         MINUTE entry before the Honorable Steven C. Seeger: Plaintiff BNSF Railway's
motion for protective order (Dckt. No. [22]) is hereby granted. On June 23, 2021, this
Court authorized the parties to conduct targeted discovery for a limited purpose at this
early stage. (Dckt. No. [23]) Specifically, the Court allowed the parties to pursue
discovery and gather facts that they need to support their respective positions on the
pending motion for a preliminary injunction. During the hearing, and again in the minute
order, the Court reminded the parties of the narrow focus of discovery, and emphasized
the importance of proportionality. The Town of Cicero later served discovery requests that
have no discernible connection to the pending issues. Cicero served document requests
and interrogatories about any work performed by BNSF at the railyard in the past 10
years, and any studies by BNSF about water or drainage issues in the past 10 years, and
any documents about flooding, and so on. (Dckt. No. 22−1). Cicero also wants to know
how much BNSF pays other municipalities for sewer and water service. Id. Those requests
aren't relevant or proportional to the needs of the case (at this stage, anyway). Cicero
should know why Cicero raised its rates. Internal documents possessed by BNSF don't
seem particularly relevant at this early stage because they did not play a role in Cicero's
decision−making. And if flooding is the reason why Cicero raised rates, then Cicero
should have the documents that support Cicero's decision. The requests give the
impression that Cicero made a decision, and is now looking for reasons to back it up after
the fact. To be clear, the Court is not denying Cicero "any discovery," as Cicero suggests.
(Dckt. No. [29], at 4) This ruling is not about discovery writ large, but rather is about the
propriety of the particular requests served by Cicero. And those specific requests do not
pass muster under Rule 26 or under this Court's parameters for early discovery. Cicero's
discovery requests aren't targeted at all, or at the very least, they're aimed at the wrong
target. Mailed notice. (jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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